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Sheriffs office about the May 18, 2023 eviction, and they shall supplement their

answer at that time or state they do not have any additional information.

      Interrogatory No. 12: The Motion is denied. Defendants have responded to

this interrogatory by identifying the individual who gave the Sheriffs deputies a key

to access the units. If Plaintiffs have additional questions, Plaintiffs can seek

clarification from Mr. Beck or any other witnesses at their deposition.

      For all the reasons discussed in this Order, Plaintiffs' Motion to Compel

Defendants to Answer Discovery Demands and Deeming Statement in Request to

Admit As Admitted [ECF No. 105] is granted in part and denied in part.

      It is so ordered.




Dated: February 6, 2025




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